DOCUMENTS UNDER SEAL
                    Case 3:20-cr-00431-VC Document 108 Filed 12/22/21 Page 16ofM1
                                                          TOTAL TIME (m ins):
M AGISTRATE JUDGE                         DEPUTY CLERK                              REPORTER/DIGITAL RECORDING:
M INUTE ORDER                             Karen L. Hom                             Zoom Webinar Time: 10:35-10:41
MAGISTRATE JUDGE                          DATE                                      NEW CASE         CASE NUMBER
JOSEPH C. SPERO                           December 22, 2021                                         20-cr-431-VC-3
                                                     APPEARANCES
DEFENDANT                                  AGE     CUST  P/NP   ATTORNEY FOR DEFENDANT                     PD.       RET.
Juan Daniel Dagio                                  Y        P       Julia Jayne, Ashley Riser              APPT.
U.S. ATTORNEY                              INTERPRETER                            FIN. AFFT              COUNSEL APPT'D
Barbara Valliere                          NA                                      SUBMITTED

PROBATION OFFICER           PRETRIAL SERVICES OFFICER               DEF ELIGIBLE FOR               PARTIAL PAYMENT
                             Ana Mendoza                            APPT'D COUNSEL                 OF CJA FEES
                                       PROCEEDINGS SCHEDULED TO OCCUR
       INITIAL APPEAR             PRELIM HRG       MOTION           JUGM'T & SENTG                            STATUS
                                                                                                              TRIAL SET
       I.D. COUNSEL               ARRAIGNMENT             BOND HEARING             IA REV PROB. or            OTHER
                                                         Held                      or S/R
       DETENTION HRG              ID / REMOV HRG          CHANGE PLEA              PROB. REVOC.               ATTY APPT
                                                                                                              HEARING
                                                    INITIAL APPEARANCE
        ADVISED                 ADVISED                  NAME AS CHARGED              TRUE NAME:
        OF RIGHTS               OF CHARGES               IS TRUE NAME
                                                       ARRAIGNM ENT
       ARRAIGNED ON               ARRAIGNED ON              READING W AIVED               W AIVER OF INDICTMENT FILED
       INFORMATION                INDICTMENT                SUBSTANCE
                                                         RELEASE
      RELEASED           ISSUED                     AMT OF SECURITY        SPECIAL NOTES                 PASSPORT
      ON O/R             APPEARANCE BOND            $ 10,000                                             SURRENDERED
                                                                                                         DATE:
PROPERTY TO BE POSTED                          CORPORATE SECURITY                       REAL PROPERTY:
    CASH    $


      MOTION          PRETRIAL                 DETAINED         RELEASED        DETENTION HEARING             REMANDED
      FOR             SERVICES                                                  AND FORMAL FINDINGS           TO CUSTODY
      DETENTION       REPORT                                                    W AIVED                     & will be released

ORDER REMOVED TO THE DISTRICT OF
                                                           PLEA
    CONSENT                     NOT GUILTY                GUILTY                     GUILTY TO COUNTS:
    ENTERED
    PRESENTENCE                 CHANGE OF PLEA            PLEA AGREEMENT             OTHER:
    REPORT ORDERED                                        FILED
                                                       CONTINUANCE
TO:                              ATTY APPT                BOND                    STATUS RE:
01/06/2022 (prev. set)           HEARING                  HEARING                 CONSENT                   TRIAL SET

AT:                              SUBMIT FINAN.             PRELIMINARY        CHANGE OF                   STATUS
                                 AFFIDAVIT                 HEARING            PLEA
1:00 PM by video                                           _____________ & Sentencing
BEFORE HON.                      DETENTION                 ARRAIGNMENT         MOTIONS                      JUDGMENT &
                                 HEARING                                                                    SENTENCING
Chhabria
       TIME W AIVED              TIME EXCLUDABLE           IDENTITY /             PRETRIAL                  PROB/SUP REV.
                                 UNDER 18 § USC            REMOVAL                CONFERENCE                HEARING
                                 3161                      HEARING
                                                 ADDITIONAL PROCEEDINGS
Due to the Covid-19 pandemic, all parties consent to proceed by Zoom video. Dft authorized the clerk to sign his name to the
bond. Dft shall call pretrial on 12/23/2021 at 10:00 AM for check-in.
cc: BS
                                                                                        DOCUMENT NUMBER:
